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EXHIBIT B
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LEGAL NOTICE

lf You Bought A Cathode Ray Tube Product,
A Class Action Settlement May Affect You.

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You may be affected by a class action lawsuit involy ing CRT
Products purchased indirectly from the Defendant companies.
“Indirect” means that you did not buy the CRT Product
directly from any Defendant. The lawsuit seeks: {a}
nationwide injunctive relief to prohibit the Defendants’
behavior that is the subject of the lawsuit and (b) money for
indirect purchasers in 24 states.

A Settlement has been reached with Chunghwa Picture Tubes
Ltd. (“Chunghwa”), The litigation is continuing against the
remaining Defendants. A complete list of Defendants is set out
in the Detailed Notice available at www.CRTsettlement.com.

What is this case about?

The lawsuit claims that numerous Defendants, including
Chunghwa, conspired to fix, raise, maintain or stabilize prices
of CRT Products resulting in overcharges to consumers who
bought CRT Products such as Televisions and Computer
Monitors. The Defendanis deny that they did anything wrong,
TheCourk has not decided wh. is right. 3 *

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The “Settlors” include any person or business that indirectly”

bought in the U.S. (excluding claims under the Washington
Unfair Business Practices and Consumer Protection Act} from
March 1, 1995 through November 25, 2007, any CRT Product
made by the Defendants. Both consumers and resellers are
included in the Settlement.

What does the Settlement Provide?

The Settlement provides for the payment by Chunghwa of
$10,000,000 in cash, plus interest, to the Settlors. It also
provides that Chunghwa will furnish information about the
case, including other Defendants’ involvement in the alleged
conspiracy, to Class Counsel, Money will not be distributed to
Settlors yet. The lawyers will pursue the lawsuit against the
other Defendants to see if any future settlements or judgments
can be obtained in the case and then distribute the funds
together to reduce expenses. It is possible that money will be
distributed to organizations who are, as nearly as practicable,
representative of the interests of indirect purchasers of CRT
Products instead of Settlors themselves if the cost to process
claims would result in small payments to Settlors.

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» sue, Chunghwa abdut the legal claims im ‘this case: Ifyou

Who Represents You?

The Court has appointed Mario N. Alioto of Trump, Alioto,
Trump & Prescott LLP as “Interim Lead Class Counsel” to
represent members of the Settlement Class. The Settlement
Class is defined in Paragraph 1 of the Order Granting
Preliminary Approval of Class Action Settlement with
Defendant Chunghwa Picture Tubes, Ltd, which is available
at www.CRTsettlement.com. If you are a resident of Illinois
or Oregon, you are a member of the Settlement Class but are
represented by the Attorney General of your State with respect
to your claims under those states’ antitrust laws. You do not
have to pay these lawyers to represent you. You may hire your
own attorney, if you wish, but if you do so you will be
responsible for your own attorney’s fees and expenses.

What are your Options?

If you wish fo remain a Settlor you do not need to take any
action at this time. If you don’t want to be legally bound by
the Settlement, you must exclude. yourself in writigg by

remain 4 Settlor, you may object fo the Seitlement by Mahth
00, 2011. The Detailed Notice describes how to exclude
yourself or to object. The U.S. District Court for the Northern
District of California will hold a Fairness Hearing at <Time>
on Month 00, 2011, at JAMS, Two Embarcadero, Suite 1500,
San Francisco, CA 94111. The hearing may be moved to a
different date or time without additional notice, so it is a good
idea to check www.CRTsettlement.com. At this hearing the
Court will consider whether the Settlement is fair, reasonable
and adequate. The Court will also consider Interim Lead
Class Counsel’s request for payment of $2.5 million from the
Settlement Fund to be used for expenses incurred in this case.
If there are objections or comments, the Court will consider
them at that time. You may appear at the hearing, but you
don’t have to. After the hearing, the Court will decide
whether to approve the Settlement. We do net know how long
these decisions wili take. Please do not contact JAMS or the
Court about this case, Please retain any receipts or other
evidence of purchase of any CRT Product. Before disposing
of any CRT Product please see the Detailed Notice for
recommendations on preserving proof of ownership,

For more details, call toll free 1-800-000-0000, visit
www.CRTsettlement.com, or write to CRT Indirect
Settlement, P.O. Box 455, Hingham, MA 02043,

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